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 4   Facsimile: (559) 513-8530

 5   Attorney for Defendant,
     RENEY BOUSANGOUANE
 6

 7

 8                                    UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       CASE NO. 1:11-cr-00357-AWI-BAM
12                       Plaintiff,
13           v.                                      STIPULATION TO CONTINUE CHANGE
                                                     OF PLEA TO OCTOBER 28, 2013;
14   RENEY BOUSANGOUANE,                             ORDER THEREON
15                       Defendant.
16

17           IT IS HEREBY STIPULATED by and between the partied hereto, and through their

18   respective attorneys of record herein, that the Change of Plea Hearing in the above captioned

19   matter set for October 21, 2013, be continued to October 28, 2013, at 10:00 A.M. Defense

20   counsel requests additional time due to an unavoidable scheduling conflict.

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     STIPULATION TO CONTINUE
     CHANGE OF PLEA TO
     OCTOBER 28, 2013                                                                                1
      Case 1:11-cr-00357-AWI-BAM Document 61 Filed 10/03/13 Page 2 of 2


 1                         The parties agree that the delay resulting from the continuance shall be excluded in the
 2   interests of justice, including but not limited to, the need for the period of time set forth herein for

 3   further defense preparation pursuant to 18 U.S.C. § 3161(h)(7)((A) and (B).

 4   Dated: October 2, 2013                                             /s/ Carol Ann Moses
                                                                        CAROL ANN MOSES
 5
                                                                        Attorney for Defendant,
 6                                                                      RENEY BOUSANGOUANE

 7                                                                      BENJAMIN B. WAGNER
                                                                        United States Attorney
 8
     Dated: October 2, 2013                                             /s/ Karen A. Escobar
 9
                                                                        KAREN A. ESCOBAR
10                                                                      Assistant United States Attorney

11
                                                          ORDER
12

13   IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18 U.S.C. §
     3161(h)(7)(A)(B).
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15
     IT IS SO ORDERED.
16
     Dated: October 3, 2013
17                                                             SENIOR DISTRICT JUDGE
     DEAC_Signature-END:




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     STIPULATION TO CONTINUE
     CHANGE OF PLEA TO
     OCTOBER 28, 2013                                                                                                 2
